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                                 132818


                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


__________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS                     Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND                                               MDL No. 2570
PRODUCTS LIABILITY LITIGATION
__________________________________________

This Document Relates to:

Alex Souza

Civil Case # 1:21-cv-06443-RLY-TAB
__________________________________________


               ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO FILE
                 SECOND AMENDED SHORT FORM COMPLAINT
       ON THIS DAY came for consideration Plaintiff Alex Souza’s Motion to Amend and

Leave to File a Second Amended Short Form Complaint. Having considered the Motion, the

Court concludes the Motion [Filing No. 22501] shall be granted.

       IT IS THEREFORE ORDERED that Plaintiff's Second Amended Short Form

Complaint is hereby deemed filed as of the date of this order.

      Date: 8/10/2022
                                           _______________________________
                                             Tim A. Baker
                                             United States Magistrate Judge
                                             Southern District of Indiana




Distribution to all registered counsel of record via CM/ECF.
